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FTB:AP
F. #2022R00795

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                              PLEA PENALTY SHEET

        - against -                                    Cr. No. 22-473 (DLI)

 KARA STERNQUIST,

                             Defendant.

 – – – – – – – – – – – – – – – – –X


                This is not a plea agreement. The government submits this plea-penalty sheet to

advise the Court of the penalties the defendant faces upon pleading guilty to Count Three of the

above-captioned indictment.

COUNT THREE – Felon in Possession of a Firearm

   I.      Statutory Penalties

           A.         Maximum term of imprisonment: 15 years
                      (18 U.S.C. § 924(a)(8)).

           B.         Minimum term of imprisonment: 0 years
                      (18 U.S.C. § 924(a)(8)).

           C.         Maximum supervised release term: 3 years, to follow any term of
                      imprisonment; if a condition of release is violated, the defendant may be
                      sentenced to up to 2 years without credit for pre-release imprisonment or time
                      previously served on post-release supervision
                      (18 U.S.C. §§ 3583 (b) & (e)).




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         D.      Maximum fine: $250,000
                 (18 U.S.C. § 3571(b)(3)).

         E.      Restitution: None
                 (18 U.S.C. § 3663).

         F.      $100 special assessment
                 (18 U.S.C. § 3013).

         G.      Other penalties: Criminal forfeiture of any firearm or ammunition involved in or
                 used in any knowing violation of Title 18, United States Code, Section 922 or
                 Section 924.

   II.        Guidelines Estimate 1

              Base Offense Level (U.S.S.G. § 2K2.1(a)(4)(II))                        20

              Plus: 8 – 24 Firearms (U.S.S.G. § 2K2.1(b)(1)(B))                       +4

              Less: Acceptance of Responsibility (U.S.S.G. § 3E1.1(a), (b))           -3

              Total:                                                                  21




         1
                The Guidelines calculation set forth herein is only an estimate and is not binding
on the government, the Probation Department or the Court. The inclusion of a downward
adjustment under § 3E1.1 in the estimate depends on the defendant’s demonstrating acceptance
of responsibility, through allocution and subsequent conduct, prior to the imposition of sentence.


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This level carries a range of imprisonment of 46 to 57 months, as the defendant falls within
Criminal History Category III.


Dated: Brooklyn, New York
       December 4, 2023


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:    /s/ F. Turner Buford
                                                    F. Turner Buford
                                                    Andy Palacio
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

cc:    Clerk of the Court (DLI) (by ECF)
       Allegra Glashausser, Esq. (by ECF)




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